   Case:13-09092-ESL13 Doc#:40 Filed:05/02/18 Entered:05/02/18 14:42:44                           Desc: Order
                         Granting No Oppo (Gen) Page 1 of 1
                              IN THE UNITED STATES BANKRUPTCY COURT
                                          District of Puerto Rico



IN RE:
                                                           Case No. 13−09092 ESL
HECTOR LUIS FIGUEROA NIEVES
CRUZ CRUZ MARITZA
                                                           Chapter 13

xxx−xx−9158
xxx−xx−2941
                                                           FILED & ENTERED ON 5/2/18

                        Debtor(s)



                                    ORDER GRANTING UNOPPOSED MOTION

This case is before the Court on the following motion: Motion Requesting Entry of Order to Compel filed by Trustee,
docket #39.

The motion having been duly notified, no replies or objections having been filed timely, the Court having reviewed
the same and good cause appearing thereof, the motion is hereby granted. Debtor shall comply within fourteen (14)
days. Order due by May 16, 2018

IT IS SO ORDERED.

In San Juan, Puerto Rico, this Wednesday, May 2, 2018 .
